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Case 3:22-cr-00327   Document 623       Filed 06/25/24   Page 3 of 60 PageID #: 4539
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Case 3:22-cr-00327   Document 623   Filed 06/25/24   Page 5 of 60 PageID #: 4541
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         Christine Barr
         11315 S Highland Dr
aa       Plainfield, IL 60585-1961

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                           "I am fearfully and wonderfully made"
                                    — Psalm 139:14 Esv




Case 3:22-cr-00327   Document 623     Filed 06/25/24      Page 10 of 60 PageID #: 4546
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Case 3:22-cr-00327        Document 623        Filed 06/25/24              Page 15 of 60 PageID #: 4551
June 17, 2024

Honorable Aleta Trauger
Fred Thompson US Courthouse & Federal Building
719 Church Street
Nashville, TN 37203


Dean Judge Trauger,
I am writing to you today regarding Mr. Dennis Green, and his recent
conviction of conspiracy charges. He is truly an asset to his community,
and I trust that you will take all these things into consideration when the day
of sentencing comes.

I truly sense, as a resident of the Nashville area that Dennis Green and
those who are being sentenced with him — should be honored instead of
punished.

They speak life and my heart is that if my mother or your mother were not
pro-life — WE WOULD NOT BE HERE and I am thankful for my life.

Judge Trauger, I wish to truly thank you for taking the time to consider my
plea for leniency for Mr. Green.

Sincerely,



Linda Myers
3003 Mickey Road
Spring Hill; TN 37174




Case 3:22-cr-00327   Document 623    Filed 06/25/24   Page 16 of 60 PageID #: 4552
                       Danny W. Myers
                       Linda F. Myers                                                370                                 -'S
                      3003 Mickey Road
       (:   (.       Spring Hill, TN 37174         1 ~Uti          ~~


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June 18, 2024


Honorable Aleta Trauger
Fred Thompson US Courthouse & Federal Building
719 Church Street
Nashville, TN 37203

Honorable Judge Trauger,

I have heard of the six peaceful protesters, including Dr. Coleman Boyd, who will be
sentenced on July 2, 2024. 1 respect that a jury has convicted them. Please Judge,
understand that Dr. Coleman and his wife Robin Coleman love children and have 13 of
them. They were heartbroken over the abortion deaths of babies in the womb, the most
vulnerable among us. These prolife Americans are not hardened criminals, but adults
who love and protect children.

U.S. Representative Chip Roy and U.S. Senator Mike Lee are working to repeal the
FACE Act which this case considers. Judge Trauger, please know that our nation is
divided over these issues and exercise leniency in your sentencing of Dr. Coleman and
the other pro-life individuals. They have many children to take care of at home. Please
don't send them to a federal penitentiary for years.

Thank you very much for your consideration, and many are praying for you.

Submitted Respectfully,

e,~
Cheryl Schechterly




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Case 3:22-cr-00327                Document 623       Filed 06/25/24       Page 21 of 60 PageID #: 4557
Judge Meta Trauger
Fred D. Thompson US Courthouse and Federal Building
719 Church Street
Nashville, TN 37203
                                                                                            June 14, 2024



Honorable-Judge Aleta Tfrauger:

        I am asking you to grant leniency in the sentencing of Dennis Green and all the other defendants
found guilty of violating the FACE Act.

        These defendants are not violent criminals and do not have prior serious criminal convictions.
They are dedicatedto saving babies trough prayer-and tPiscussions, about saving precious preborn
babies from undergoing the terrible agony endured in the abortion process.

        These defenders of life are harmless and not violent at anytime. For decades, Dennis has
preached in underground churches in both China and Tibet helping people learn about Jesus.

        Thank you for your time and consideration to ail-of these cases. Asa Judge, you are-faceri daily
with having the wisdom of Solomon, while carrying out the law of the land, a very hard job. May God
always guide you and bless you daily.




Sincerely,

Marjorie G. Mickelson




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    Case 3:22-cr-00327   Document 623   Filed 06/25/24   Page 23 of 60 PageID #: 4559
                                                           7000 Grand Point Rd.
                                                           Presque Isle, MI 49777
                                                           June 20, 2024



The Honorable Aleta Trauger
Fred D. Thompson Courthouse and Federal Building
719 Church Street
 Nashville, TN 37203



Dear Judge Trauger,


We are writing this letter concerning the six pro life defendants who were convicted

of violating the Freedom of Access to clinic Entrances Act and for Conspiracy Against

Rights.

When you pass sentence in this case, please consider that these people are not violent offenders.

In light of that fact, we ask that you would show not only them but also their families mercy,

and not sentence them to prison terms. Thank you.


S' erely,



Richard and Peggy Kreft




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            Case 3:22-cr-00327       Document 623   Filed 06/25/24   Page 28 of 60 PageID #: 4564
 Dear Honorable Aleta Trauger                                        6/18/2024

 As you come up to the sentencing hearing on 7/2/24 to 7/3/24 for the
 advocates for life, I briefly and respectfully add this observation. I have
 personally met a few of these individuals and can say they were so
 genuinely kind to me and I still freshly remember their graciousness
 though it has now been a few years ago. I would urge you to consider
 their characters and how they conduct themselves as you approach this
 hearing. Thank you for your time and consideration. May the Lord
 Jesus give you wisdom.

                     Your word is a lamp to my feet
                     And a light to my path.
                     (Psalm 119:105, NASB1995)

Sincerely,
Steven & Kelly Brown and Family




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     Case 3:22-cr-00327   Document 623   Filed 06/25/24   Page 35 of 60 PageID #: 4571
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TWV,C—

 Dear Honorable Judge Trauger,

 I am writing to you today regarding Mr. Dennis Green, and his recent conviction
 of conspiracy charges. I humbly request that you show him leniency in his
 sentencing. Dennis is a loving husband and father. He has been an inspiration to
 many and I thank God for him. He is truly an asset to his community, and I trust
 that you will take all these things into consideration when the day of sentencing
 comes.

 Judge Trauger, I wish to truly thank you for taking the time to consider my plea
 for leniency for Mr. Green.

 I have also heard of the six peaceful protesters, including Dr. Coleman Boyd,
 who will be sentenced on July 2, 2024. 1 respect that a jury has convicted them.
 Please Judge, understand that Dr. Coleman and his wife Robin Coleman love
 children and have 13 of them. They were heartbroken over the abortion deaths of
 babies in the womb, the most vulnerable among us. These prolife Americans are
 not hardened criminals, but adults who love and protect children.

 My U.S. Representative Chip Roy and U.S. Senator Mike Lee are working to
 repeal the FACE Act which this case considers. Judge, please know that our
 nation is divided over these issues and exercise leniency in your sentencing of
 Dr. Coleman and the other prolife individuals. They have many children to take
 care of at home.

 Please don't send them to a federal penitentiary for years.

 Thank you very much for your consideration, and we are praying for you.

 Lori Hinze




 Austin, TX
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    Case 3:22-cr-00327   Document 623    Filed 06/25/24      Page 37 of 60 PageID #: 4573
 June 20,2024



 The Honorable Aleta Trauger

 Fred D. Thompson U.S. Courthouse Federal Building

 719 Church Street

 Nashville, TN 37203



 Dear Judge Trauger,

 I respect the weight of authority that you bear, as a federal court judge, and the
 responsibility to uphold the laws of our great Constitution. I am writing to appeal to you for
 mercy for the 6 defendants, who were convicted of violating the FACE act, March 5, 2021,
 at the Mt. Juliet reproductive clinic.

 In these times of division in our nation, when our penitentiaries are overcrowded with
 violent offenders, is it necessary to send 6 peaceful protestors to prison for any length of
 time? How often are other peaceful protestors, for other causes, imprisoned?

 Thank you for reading this letter and your consideration of this request.

 May God bless you,




 Martha Browning




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Case 3:22-cr-00327   Document 623   Filed 06/25/24   Page 42 of 60 PageID #: 4578
                                                     660 Estate Dr.
                                                     Eads, TN 38028
                                                     June 20, 2024



The Honorable Aleta Trauger

Fred D. Thompson U.S. Courthouse and Federal Building

719 Church Street

Nashville, TN 37203



Dear Judge Trauger:

I urge you as you decide the sentences in the Mt. Juliet FACE Act violation case, to consider the
words of Rev. Martin Luther King, Jr. in his "Letter from Birmingham Jail."
"One has not only a legal but a moral responsibility to obey just laws. Conversely, one has a
moral responsibility to disobey unjust laws."
"A just law is a man-made code that squares with the moral law or the law of God. An unjust law
is a code that is out of harmony with the moral law. To put it in the terms of St. Thomas
Aquinas: An unjust law is a human law that is not rooted in eternal law and natural law."

You will sentence those who acted to save lives, to rescue from death. I humbly ask you to show
them mercy.

                                                            Respectfully,



                                                            Carolyn✓ Madsen




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   Carolyn Madsen
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    660 Estate Dr.                                                                                                                     CPS
    Eads, TN 38028-6206                                     7-i JUN 2024 PM 1                    L.                                ~

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Case 3:22-cr-00327        Document 623         Filed 06/25/24        Page 44 of 60 PageID #: 4580
Judge Aleta Trauger
Fred D. Thompson US Courthouse and Federal Building
719 Church Street
Nashville, TN 37203
                                                                                    June 15, 2024


Honorable Judge Aleta Trauger:
       I am writing on behalf of defendant Dennis Green. I asked for leniency in his case
involving the FACE act.
       He is not a violent man. He tries to correct things and set them on a course for a more
positive outcome. He does this because he's a religious man and he is guided by his faith. He
has even followed his faith to other countries like China and Tibet to do this. He is a good man
following his faith and hart.
       Once again, I am asking for a leniency in this matter.
       Thank you for your time in considering this matter




Sincerely,
Christopher Hamrick




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      Stephen Wright
     3204 Hollyglen Ct
    Midlothian, VA 23112




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Dear Honorable Judge Alita Trauger,

I am writing this letter to you on behalf of the defendant, Mr Dennis Green, to ask for leniency in
his upcoming sentencing on Case 3:22-cr-00327.

My name is Lorraine FLeeman. I have ministered on the sidewalk outside an abortion clinic in
Richmond, Va alongside Dennis Green for 2 years, 1 x week. During that time I have never
seen Mr Green angry, lashing out, or being disrespectful to anyone, including workers and those
going into the clinic. He always keeps a respectful distance, and speaks in a kind tone of voice,
offering practical help and information as needed. In addition, when Mr Green has been
approached by angry pro-choice people passing by, even those screaming in his face, or
defacing his property and carrying off his pro life signs, he has remained calm and non-violent.

It is noteworthy that Mr Green and his wife have been reaching out to women in crisis
pregnancies since 1989. The Greens together ran a maternity home called Liberty Home in
Petersburg, Va for 10 years, and were house parents to the women there. They also were
house parents and directors for a home called Mother's Home in Pennsylvania in 1992,

I have found Dennis Green to be a living example of a godly Christian man. He "walks the walk"
of His Savior, Jesus. Mr Green's life has been dedicated to the pro life ministry, and to sharing
the gospel of Jesus Christ, always in peaceful ways. His deep faith has moved him to give of his
time, money, and his life to serving the Lord, and helping women in need during an unplanned
pregnancy, no matter ethnicity or creed.

On a personal note, I have seen Dennis Green interact with his children and wife as a loving
father and husband. Benjamin, their last child, who has Down's syndrome, has a very close and
loving relationship with Mr Green. Benjamin would be greatly affected and saddened, not
understanding the separation, if his father was incarcerated.
The Green family is not a family with money. Raising 13 children, giving their lives to ministry in
the US and overseas, and battling cancer, has not secured them material wealth. I am sure,
they will have many rewards in heaven to come. But incarceration would be a financial hardship
without Mr Green's income:

In summary I pray, Judge Trauger, that you will consider Dennis Green's godly character and
numerous ministries to others, as you hand down his sentence.
Mr Green has acted in peaceful protest to the holocaust of this generation, the killing of innocent
babies in the womb. Much like the other peaceful protests in America's past.
May the Lord give you wisdom and compassion as you determine the freedom of this godly
man.

Thank you for your time.
Gratefully and with hope,
Lorraine Fleeman
1878 Boyer Rd Powhatan Va. 23139.        804-720-2762



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                                  Howard G. Walton
                                        17 June 2024


  The Honorable Aleta Trauger
  Fred D. Thompson US Courthouse and Federal Building
  719 Church Street
  Nashville, TN 37203

  Dear Judge Aleta Trauger,

  In the case of Coleman Boyd and the five other defendants in violation of the FACE Act,
  please exercise leniency in sentencing. They are not violent criminals and should not be
  sent away for years to into a federal penitentiary.

  Thank you.

  Best regards,


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                  3312 Kathy Ave. • Modesto, CA. 95355 •209-614-5098
                                     reagent@att.net



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